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UNITED sTATEs_DIsTRICT CoURT__
FoR THE msch oF CoLUMBIA

 

IN RE THIRD PARTY SUB.POENA TO
FUSION GPS, `

l c/o Zuckerman Spaeder LLP

1800 M Street, N.W. 7
Washington, D.C. 20036

 

ALEKSEJ GUBAREV, er aL,
n Plaintiffs,
V.
BUZZFEEI), iNC. er a!.,

Defendants.

 

 

ORDER

Case No. 1:17-mc-02171 (TNM)

ease No. i7-cv-60426~UU'

On August 31, 201`7, Fusion GPS filed a motion in the United States District Court for

the District of Columbia Seeking to quash a third-party subpoena issued by the United States

l VDistrict Court for the .Southem District of Florida. The motion to quash Was filed in the United

States District Court for the Distn`ct of Columb`ia pursuant to Federal Rule'of Civil Procedure

45(d)(3), which authorizes “the court for the district where compliance is required” to quash or

modify a subpoena under certain circumstances A motion to quash may also be decided by the

court that issued the subpoena, in thiscase the United States District Court for the Southern

,Distlict of Florida, “if the person subject to the subpoena consents.” Fed. R. Civ. P. 45(f).

Now before the Court is Fusion GPS’s Notice of Consent, informing the Court that

Fusion GPS consents to have its motion to quash transferred to the United States District Court

forthe Southern District of Floiida. In_ light of this consent and because the United States

 

 

 

 

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District Court for the Southern District of Florida is in the best position to assess the Plaintiffs’
need for the information requested by the subpoena, it is hereby

ORDERlilD that Fusion GPS’s motion ton quash be transferred to the United States
District Court for the Southem District of Florida pursuant to.Federal Rule of Civil Procedure

45_(f)._ The _Clerk of Court is directed to close this case.¢

SO ORDERED.

 

Dated: February 27, 2018

United States District Judge

 

